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                                                          April 18, 2024



 Hon. Zahid N. Quraishi
 United States District Judge
 Clarkson S. Fisher Building & U.S. Courthouse
 402 East State Street Room 2020
 Trenton, NJ 08608

         Re: Bristol Myers Squibb Co. v. Becerra , No. 23-cv-3335.

 Dear Judge Quraishi:

        Defendants in the above-captioned cases respectfully submit this response to the notice of
 supplemental authority filed by Plaintiff Bristol Myers Squibb Co. (BMS). See Letter, ECF No. 108.

        The recent Supreme Court case BMS identifies, Sheetz v. County of El Dorado, California, addresses the
 narrow question of whether the so-called “Nollan/Dolan test”—which asks whether “permit conditions []
 have an ‘essential nexus’” and “‘rough proportionality’” to the “government’s land-use interest”—
 “recognizes a distinction between legislative and administrative conditions on land-use permits.” 2024 WL
 1588707, at *4-5 (U.S. Apr. 12, 2024). The Supreme Court held that it does not. Id. *2. As the Supreme
 Court explained, the test applies to land-use conditions imposed by legislatures no less than to conditions
 imposed by administrative bodies. Id.

         Plaintiffs here ask this Court to go much further, and apply the Nollan/Dolan nexus-and-rough-
 proportionality framework outside the land-use context entirely. See Letter, ECF No. 108 at 1-2. But, as
 Defendants explained in their prior briefs, the Supreme Court has made clear that the Nollan/Dolan test is
 reserved for the “‘special application’ of . . . land-use permits.” Koontz v. St. Johns River Water Mgmt. Dist.,
 570 U.S. 595, 604 (2013) (discussing the doctrine); Lingle v. Chevron U.S.A. Inc., 544 U.S. 528, 538 (2005)
 (noting the “special context of land-use exactions”). Nothing in Sheetz suggests that the Supreme Court was
 overruling that precedent. To the contrary, the Court’s observation that the “Nollan/Dolan test is rooted”
 in “the unconstitutional conditions doctrine” highlights that the test reflects a special application of that
 doctrine, not a universal one. Sheetz, 2024 WL 1588707, at *6-7. Neither the majority nor any of the
 concurrences suggest expanding the test beyond its confines.

        Defendants detailed in their prior briefs why the unique aspects of the land-use context, described
 by the Court in Koontz, are absent in this case—making the Nollan/Dolan test inapplicable. See, e.g., Defs’
 Reply Br., ECF No. 84 at 15-16. The Court’s discussion in Sheetz reiterate how the Nollan/Dolan test
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 addresses the unique and “complicated” features “of the permitting process.” Sheetz, 2024 WL 1588707, at
 *4-5. That discussion underscores that extending the test outside the land-use context would be an
 enormous and unjustified leap.


                                              Respectfully submitted,

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 cc: All Counsel of Record (via ECF)




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